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                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF LOUISIANA

ANDREW BABINSKI                                       *
                                                      *
versus                                                *      No. 3:20-cv-426-JWD-EWD
                                                      *
TODD QUEEN, in his personal and official              *
capacity as Dean of the College of Music and          *      JUDGE DEGRAVELLES
Dramatic Arts of Louisiana State University,          *
KRISTIN SOSNOWSKY, in her personal and                *      MAGISTRATE
official capacities as Chair of the School of Theatre *           WILDER-DOOMES
of Louisiana State University, SHANNON WALSH, *
JOHN FLETCHER, and ALAN SIKES                         *


                                 NOTICE OF COLLATERAL SUIT
                               PURSUANT TO LOCAL CIVIL RULE 3

         Plaintiff, Andrew Babinski, gives notice pursuant to Local Civil Rule 3 that the following

suit was filed concurrently with the above-captioned suit and concerns similar operative facts:


Caption:        Babinski versus Board of Supervisors of Louisiana State University and
                Agricultural and Mechanical College, Shannon Walsh, John Fletcher, Kristin
                Sosnowsky, and Todd Queen

Court:          19th Judicial District Court for the Parish of East Baton Rouge, State of Louisiana

Case No.:       697633

Section:        27

Judge:          Hon. Trudy White

Description:    Action for breach of contract, unjust enrichment, detrimental reliance,
                defamation, false light, and violation of the Louisiana Unfair Trade Practices Act
                arising from the same facts as alleged in this case.

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                                 Respectfully Submitted:


                                 ____________________________________
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